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 2
     CARL M. FALLER SBN: 70788
 3   Attorney at Law
     Post Office Box 912
 4   Fresno, CA 93714
     559-226-1534
 5   carl.faller@fallerdefense,com
 6
     Attorney for Defendant
 7   RICHARD ORSOUPHAKHETH
 8

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10                          IN THE UNITED STATED DISTRICT COURT

11                       FOR THE EASTERN DISTRICT OF CALIFORNIA

12

13   UNITED STATES OF AMERICA,                        ) Case No.: 1:07-cr-00268 OWW
                                                      )
14                  Plaintiff,                        ) STIPULATION TO CONTINUE
                                                      )
15          vs.                                       ) SENTENCING
                                                      )
16   RICHARD ORSOUPHAKEHETH,                          )
                                                      )
17                  Defendant.
                                                      )
18
            It is hereby stipulated by and between the parties hereto, through their respective
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     attorneys of record, as follows:
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            The sentencing hearing in this matter is currently set for August 3, 2009 at 1:30 pm. By
21
     agreement of the parties it is respectfully stipulated and requested that this hearing be continued
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     until August 31, 2009, at 1:30 pm. The reason for the continuance is that defendant continues to
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     undergo medical procedures which need to be completed prior to sentencing.
24
     Dated: July 30, 2009
25
                                                           /s/ Carl M. Faller_____
26
                                                           CARL M. FALLER
27
                                                           Attorney for Defendant
     ///
28
     ///

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              Case 1:07-cr-00268-AWI Document 237 Filed 08/03/09 Page 2 of 3
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 3
                                                         LAWRENCE G. BROWN
                                                         Acting United States Attorney
 4

 5                                                 By    /s/ Laurel J. Montoya_____
                                                         LAURAL J. MONTOYA
 6
                                                         Assistant U.S. Attorney
 7                                                       Attorney for the United States

 8
            ORDER:
 9
            Based upon the stipulation of the parties and good cause appearing, it is hereby
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11   ORDERED that the sentencing hearing currently set for August 3, 2009, at 1:30 pm, be

12   continued to August 31, 2009 at 1:30 pm.

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             Case 1:07-cr-00268-AWI Document 237 Filed 08/03/09 Page 3 of 3
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10                                         IT IS SO ORDERED.
11
     Dated: July 31, 2009        /s/ Oliver W. Wanger
12   emm0d6     UNITED STATES DISTRICT JUDGE

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